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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

JASON LEOPOLD AND             )
BUZZFEED INC.                 )
               Plaintiffs,    )
                              )                 Civ. A. No. 1:20-cv-00287 (CJN)
      v.                      )
                              )
U.S. DEPARTMENT OF JUSTICE, )
                              )
                  Defendant.  )
______________________________)


                                   JOINT STATUS REPORT

       In accordance with the Court’s Minute Order dated March 19, 2020, the Parties report as

follows:

       1.       This is a Freedom of Information Act (FOIA) case in which Plaintiffs Jason

Leopold and Buzzfeed, Inc., seek records from the U.S. Department of Justice’s (“DOJ”) Office

of the Inspector General (“OIG”) pertaining to what Plaintiffs allege was “FBI’s investigation into

any witting or unwitting collusion between Trump associates and Russian officials regarding the

Russian government’s effort to interfere in the 2016 Presidential Election. The FBI’s investigation

is also known under code name Crossfire Hurricane.” Compl. ¶ 1, ECF No. 1.

       2.       Plaintiffs’ Complaint contains allegations related to three different FOIA requests:

       1) All non-public records, such as intelligence products, interview transcripts and
       summaries, emails, FBI FD 302 summaries, memos, letters, text messages,
       exhibits, charts, spreadsheets, that were used by the Office of the Inspector
       General in the drafting of the December 2019 report: Review of Four FISA
       Applications and Other Aspects of the FBI’s Crossfire Hurricane Investigation.

       2) Any and all records, including but not limited to emails, memos, letters, and
       text messages, sent and received by senior Office of Inspector General personnel
       mentioning or referring to the report: Review of Four FISA Applications and
       Other Aspects of the FBI’s Crossfire Hurricane Investigation. The timeframe for
       this request is December 1, 2019 through the date the search for responsive

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       records is conducted.

       3) Emails, memos, letters, text messages, mentioning or referring to the FISA
       investigation, the Nunes Memo, Crossfire Hurricane, Attorney General William
       Barr, Robert Mueller, Carter Page, John Durham and Christopher Steele and
       Steele Dossier, Peter Strzok and Donald Trump and Trump Campaign. The
       timeframe for this request is January 1, 2019 through the date the search for
       responsive records is conducted.

Compl. ¶ 6.

       3.       The Government has not issued determinations in response to the requests.

       4.       The Parties conferred on Friday, April 10, 2019 to discuss the status of OIG’s

responses to the requests.

       5.       OIG reported that for subpart 1, the December 2019 OIG report entitled “Review

of Four FISA Applications and Other Aspects of the FBI’s Crossfire Hurricane Investigation,”

contains approximately 4,612 citations. All of the documents cited in the report are maintained on

a classified system(s) and can only be reviewed in a Sensitive Compartmented Information Facility

(“SCIF”) in OIG’s offices. In response to the COVID-19 crisis, OIG is in a maximum telework

posture and is only authorizing personnel to go to the office to perform mission critical

functions. At this time, OIG does not consider the review of documents in a SCIF in OIG’s offices

for FOIA processing purposes to be a mission critical function. Therefore, while OIG has

identified the records responsive to subpart 1, at this time, it is not in a position to process those

records. OIG will apprise Plaintiffs and the Court as soon as circumstances allow for processing

to begin.

       6.       For subpart 2, OIG reported that it is in the process of conducting a search for

responsive records and that it will use its best efforts to complete the search by April 30. Once the

search is completed, OIG will assess the volume of responsive records, and provide Plaintiffs with

a schedule for proceeding with a responsiveness review and for processing any responsive records.


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       7.       For subpart 3, the Parties have agreed to continue to meet and confer about the

scope of this request.

       8.       The Parties have further agreed to report back to the Court by June 3, 2020, on their

progress.

       9.       At this time, Defendant does not believe an Open America motion is likely. The

Parties believe that it is premature to propose a summary judgment briefing schedule.



DATE: April 15, 2020                          Respectfully submitted,

                                              /s/ Matthew V. Topic
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